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                                                       OFFICE OF THE CLERK
                        UNITED STATES DISTRICT COURT
                           Northern District of California

                                        CIVIL MINUTES


 Date: January 27, 2023            Time: 9:03 – 10:10; 10:12 – Judge: YVONNE GONZALEZ
                                   11:26                       ROGERS
 Case No.: 20-cv-02254-YGR         Case Name: LD v. United Behavioral Health



Attorneys for Plaintiffs: Matthew Lavin, Aaron Modiano, David Lilienstein, Katie
Spielman, Nichole Wemhoff

Attorneys for Defendant United Behavioral Health: Geoffrey Sigler, Lauren Blas, Nicole
Matthews

Attorneys for Defendant MultiPlan, Inc.: Errol King, Craig Caesar, Katherine Mannino

 Deputy Clerk: Aris Garcia                              Reported by: Raynee Mercado

                                        PROCEEDINGS

[168] MOTION to Certify Class; [214] MOTION to Exclude Expert Opinion and Declaration of

Alexandra Lahav; [261] MOTION Exclusion of the Expert Opinion of Daniel Kessler; [264]

DEFENDANTS’ OBJECTION to Evidence Submitted with Plaintiffs’ Reply in Support of
Motion for Class Certification Pursuant to L.R. 7-3(D) [268] MOTION for Relief From Non-

Dispositive Pretrial Order of Magistrate Judge; MOTION For Relief From Nondispositive Order

Pursuant to L.R. 72-2 – Hearing held and Submitted.

Joint submission on the elements and supplemental briefs due by 2/6/2023.

[214] MOTION to Exclude Expert Opinion and Declaration of Alexandra Lahav is Granted by
the Court.

Defendants shall submit one omnibus proposed formal Order regarding withdrawing of sealing
requests by 2/6/2023.

Requests to seal any shall be made within 5 days after receipt of the transcript.
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Order to be prepared by:
( )   Plaintiff            ( )   Defendant    (x)   Court
